                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI

               SEAN YOUSAF,                              Case No. 4:18-cv-00321-DGK

                   Plaintiff,

                      v.

  THE CURATORS OF THE UNIVERSITY
         OF MISSOURI, et al.,

                 Defendants.


                     PLAINTIFF’S VERIFIED MOTION FOR
               EMERGENCY AND PRELIMINARY INJUNCTIVE RELIEF

       Plaintiff, SEAN YOUSAF, ("Plaintiff" and/or “Sean” as applicable), having

contemporaneously filed herewith       PLAINTIFF’S DESIGNATION OF EVIDENCE IN

SUPPORT       OF    PLAINTIFF’S       VERIFIED       MOTION     FOR    EMERGENCY        AND

PRELIMINARY INJUNCTIVE RELIEF (ECF 9) (Sean’s “Designation of Evidence”) as well

as PLAINTIFF’S BRIEF OF SUGGESTIONS IN SUPPORT OF PLAINTIFF’S VERIFIED

MOTION FOR EMERGENCY AND PRELIMINARY INJUNCTIVE RELIEF (ECF 10)

(Sean’s “Brief of Suggestions”), pursuant to Federal Rule of Civil Procedure 65, moves for

emergency and preliminary injunctive relief against Defendant THE CURATORS OF THE

UNIVERSITY OF MISSOURI d/b/a THE UNIVERSITY OF MISSOURI AT KANSAS

CITY, THE UNIVERSITY OF MISSOURI AT KANSAS CITY, and THE UNIVERSITY

OF MISSOURI AT KANSAS CITY SCHOOL OF DENTISTRY (hereinafter, collectively,

the “SOD”) and, in support thereof, states as follows:

       1.      As described more particularly in Sean’s Brief of Suggestions, Sean, a second-

year student at the SOD, was illegally, unfairly and improperly denied his contractual and due




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process rights under both Missouri and Federal Law, expelled by the SOD, and then denied

readmission by the SOD, which, ironically, is the very institution charged with carrying out those

rights at the academic level; and, in the process, Sean was branded by the SOD with a stigma not

only unbefitting a doctoral student, but unbefitting a man; a stigma that, absent the injunctive

relief of this Court, threatens to permanently and irreparably invalidate not only everything Sean

has ever worked for in the past, but also everything Sean has ever worked for toward the future.

       2.      As described more particularly in Sean’s Brief of Suggestions, based on the

designated facts and applicable law, as set forth herein, Sean will continue to suffer irreparable

harm if an injunction is not issued by this Court enabling him to continue as a student during the

pendency of this litigation, Sean has high likelihood of success on the merits with regard to those

claims relating to the injunctive relief being requested herein, Sean’s interest in continuing as a

student outweigh’ s the SOD’s interest in keeping Sean from continuing as a student, and the

public interest will not be disserved. Therefore, Sean is requesting, among other relief as

detailed herein, that an injunction issue whereby Sean is able to continue at the SOD as student

during the pendency of the litigation.

       WHEREFORE, Plaintiff SEAN YOUSAF respectfully requests that the Court:
       A.      Issue an emergency and, ultimately, preliminary injunction, to be in effect during

the course of this litigation, against the SOD requiring the SOD, and all persons in active concert

therewith, to allow Sean to remain a dental student with the SOD, along with all rights,

privileges and entitlements related thereto;

        B.     Set a cash bond at $500.00 as a condition to the issuance of the injunctive relief

requested; or, alternatively, such other amount the Court deems reasonable; and,

       C.      For all other just and proper relief.




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Date: June 14, 2018.              Respectfully Submitted,

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                                  limited liability company,

                                  s/ P. Adam Davis____________________
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                                CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that a copy of the foregoing was filed
electronically as of the date set forth above. Notice of this filing will be sent to the parties by
operation of the Court’s electronic filing system. Parties may access this filing through the
Court’s system. For those parties which are not registered with the Court’s electronic filing
system, the undersigned hereby certifies that a copy of the foregoing has been served by
depositing a copy of the same in the United States mail, first class, postage prepared.


 Joel Poole



       Date: June 14, 2018.                          Respectfully Submitted,

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